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                                                                                      FILED
                                                                          United States Court of Appeals
                            UNITED STATES COURT OF APPEALS                        Tenth Circuit

                                   FOR THE TENTH CIRCUIT                       February 9, 2018
                               _________________________________
                                                                              Elisabeth A. Shumaker
                                                                                  Clerk of Court
  ALEJANDRO MENOCAL; MARCOS
  BRAMBILA; GRISEL XAHUENTITLA;
  HUGO HERNANDEZ; LOURDES
  ARGUETA; JESUS GAYTAN; OLGA
  ALEXAKLINA; DAGOBERTO
  VIZGUERRA; DEMETRIO VALERGA,
  on their own behalf and on behalf of all
  others similarly situated,
                                                                No. 17-1125
         Plaintiffs - Appellees,                       (D.C. No. 1:14-CV-02887-JLK)
                                                                 (D. Colo.)
  v.

  THE GEO GROUP, INC.,

         Defendant - Appellant.

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  NATIONAL ADVOCACY CENTER OF
  THE SISTERS OF THE GOOD
  SHEPHERD; NATIONAL
  EMPLOYMENT LAW PROJECT;
  NATIONAL GUESTWORKER
  ALLIANCE; NATIONAL IMMIGRANT
  JUSTICE CENTER; NATIONAL
  IMMIGRATION LAW CENTER;
  PANGEA LEGAL SERVICES; PUBLIC
  CITIZEN; SANCTUARY FOR
  FAMILIES; SOUTHERN POVERTY
  LAW CENTER; AMERICAN
  IMMIGRANTS FOR JUSTICE; ASIAN
  AMERICANS ADVANCING JUSTICE;
  DETENTION WATCH NETWORK;
  HUMAN RIGHTS DEFENSE CENTER;
  ILLINOIS COALITION FOR
  IMMIGRANT AND REFUGEE RIGHTS;
  JUSTICE STRATEGIES; LEGAL AID
Case 1:14-cv-02887-JLK-MEH Document 115 Filed 02/09/18 USDC Colorado Page 2 of 2

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  AT WORK; HUMAN TRAFFICKING
  PRO BONO LEGAL CENTER; TAHIRIH
  JUSTICE CENTER; ASISTA
  IMMIGRATION ASSISTANCE;
  FREEDOM NETWORK USA,

        Amici Curiae.
                          _________________________________

                                     JUDGMENT
                          _________________________________

  Before MATHESON, BACHARACH, and McHUGH, Circuit Judges.
                    _________________________________

        This case originated in the District of Colorado and was argued by counsel.

        The judgment of that court is affirmed.


                                              Entered for the Court



                                              ELISABETH A. SHUMAKER, Clerk




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